Case 2:19-cv-02248-BWA-MBN Document 1-1 Filed 03/11/19 Page 1 of1
CIVIL COVER SHEET

JS 44 (Rev. 06/17)

The JS 44 civil cover sheet and the information contained herein neither re}

place nor supplement the filing and service of pleadings or other papers as required by law, except as

provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SHE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS

Bessie Nichols

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN US. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number,

Jon S.

235 Derbigny Street, Suite 100

Gretna, LA 70053

4)
McGill, Esq. - THE LAW OFFICES OF JON S. MCGILL, LLC

DEFENDANTS

Jazz Casino Company, LLC d/b/a
Harrah's New Orleans Casino
County of Residence of First Listed Defendant | New Orleans
(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED,

NOTE:

Attorneys (if Known)
Ralph R. Alexis, Ill, Esq., Glenn B. Adams, Esq., Corey D. Moll, Esq.
PORTEOUS, HAINKEL AND JOHNSON, L.L.P.
704 CARONDELET STREET NEW ORLEANS, LA 70130

 

 

II. BASIS OF JURISDICTION (Place an “x” in One Box Only)

"3 Federal Question

 

Il. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Box for Plaintiff

(For Diversity Cases Only) and One Box for Defendant)

 

 

 

 

 

 

 

 

 

 

O 1 U.S. Government PTF DEF PTF DEF
Plaintiff (U.S. Gavernment Not a Party) Citizen of This State O 1 CO 1 Incorporated or Principal Place o4 04
of Business In This State
O02 US. Government O14 Diversity Citizen of Another State O 2 QO 2 Incorporated and Principal Place o5 as
Defendant (Indicate Citizenship of Parties in Item HI) of Business In Another State
Citizen or Subject of a 03 O 3 Foreign Nation o6 O86
Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only) Click here for: Nature of Suit Code Descriptions.
[ CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTST aTe Sa]
GC 110 Insurance PERSONAL INJURY PERSONALINJURY  |O 625 Drug Related Seizure O 422 Appeal 28 USC 158 O 375 False Claims Act
© 120 Marine © 310 Airplane © 365 Personal Injury - of Property 21 USC 881 |O 423 Withdrawal 0 376 Qui Tam (31 USC
© 130 Miller Act © 315 Airplane Product Product Liability 0 690 Other 28 USC 157 372Xa))
O 140 Negotiable Instrument Liability 0 367 Health Care/ © 400 State Reapportionment
© 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS O 410 Antitrust
& Enforcement of Judgment Slander Personal Injury O 820 Copyrights © 430 Banks and Banking
GC I51 Medicare Act © 330 Federal Employers’ Product Liability © 830 Patent O 450 Commerce
© 152 Recovery of Defaulted Liability ©) 368 Asbestos Personal © 835 Patent - Abbreviated 0 460 Deportation
Student Loans O 340 Marine Injury Product New Drug Application | 470 Racketeer Influenced and
(Excludes Veterans) © 345 Marine Product Liability O 840 Trademark Corrupt Organizations
0 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR TAL SE ITY. © 480 Consumer Credit
of Veteran’s Benefits O 350 Motor Vehicle O 370 Other Fraud O 710 Fair Labor Standards O 861 HIA (1395ff) 0 490 Cable/Sat TV
O 160 Stockholders’ Suits © 355 Motor Vehicle © 371 Truth in Lending Act O 862 Black Lung (923) 0 850 Securities/Commadities/
© 190 Other Contract Product Liability O) 380 Other Personal 0) 720 Labor/Management O 863 DIWC/DIWW (405(g)) Exchange
© 195 Contract Product Liability | 360 Other Personal Property Damage Relations O 864 SSID Title XVI O 890 Other Statutory Actions
196 Franchise Injury O 385 Property Damage GO 740 Railway Labor Act 0 865 RSI (405(g)) O 891 Agricultural Acts
© 362 Personal Injury - Product Liability O 751 Family and Medical © 893 Environmental Matters
Medical Malpractice Leave Act © 895 Freedom of Information
I REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS fr 790 Other Labor Litigation FEDERAL TAX SUITS Act
© 210 Land Condemnation 6 440 Other Civil Rights Habeas Corpus: O 791 Employee Retirement O 870 Taxes (U.S. Plaintiff © 896 Arbitration
O 220 Foreclosure O 441 Voting 0 463 Alien Detainee Income Security Act or Defendant) O 899 Administrative Procedure

6 230 Rent Lease & Ejectment
© 240 Torts to Land

© 245 Tort Product Liability

© 290 All Other Real Property

 

O 442 Employment

O 443 Housing/
Accommodations

O 445 Amer. w/Disabilities -
Employment

O 446 Amer. w/Disabilities -
Other

O 448 Education

© 510 Motions to Vacate
Sentence

0 530 General

O 535 Death Penalty

Other:

O 540 Mandamus & Other

0 550 Civil Rights

O 555 Prison Condition

O 560 Civil Detainee -
Conditions of
Confinement

 

O 871 IRS—Third Party
26 USC 7609

Act/Review or Appeal of
Agency Decision

O 950 Constitutionality of
State Statutes

 

IMMIGRATION
© 462 Naturalization Application
© 465 Other Immigration
Actions

 

 

 

 

 

V. ORIGIN (Place an “X" in One Box Only)

O11 Original

Proceeding

VI. CAUSE OF ACTION

VII. REQUESTED IN

COMPLAINT:

AJ 2 Removed from
State Court

O 3

 

Cite the U.S. Sane under w!
Us.c.

Remanded from o4

Appellate Court

Ld

Brief description of cause: Z :
abo,

O CHECK IF THIS IS A CLASS ACTION
UNDER RULE 23, F.R.Cv.P.

VIII. RELATED CASE(S)

IF ANY

(See instructions):

JUDGE

Reinstated or
Reopened

O 8 Multidistrict
Litigation -
Direct File

O 5 Transferred from
Another District
(specify)

O 6 Multidistrict
Litigation -
Transfer

hich you are filing (De nor ao statutes unless diversity):

ay l

DEMAND $ CHECK YES only if demanded in complaint:

JURY DEMAND: O Yes ONo

DOCKET NUMBER

 

 

DATE

It Mad 2°"

FOR OFFICE USE ONLY

RECEIPT #

AMOUNT

APPLYING IFP

2-55 OF . mr OF RECORD

JUDGE MAG. JUDGE
